Case 1:21-cv-03354-BAH Document 135 Filed 12/15/23 Page 1of1
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

RUBY FREEMAN, ef al.,

Plaintiffs, Civil Action No. 21-3354 (BAH)
V. Judge Beryl A. Howell
RUDOLPH W. GIULIANI, FILED

VEL 15 2923
Clerk, U.S. District & Bankruptey
VERDICT FORM Courts for the District of Columbia

Defendant.

We, the Jury, unanimously find the following on the questions submitted to us:

COMPENSATORY DAMAGES:

DEFAMATION CLAIM

1. What amount of compensatory damages, if any, would fairly and reasonably compensate
Ms. Freeman for defamation caused by Mr. Giuliani and his co-conspirators?

AMOUNT: $ L6,L Ll, ODO, OO

2. What amount of compensatory damages, if any, would fairly and reasonably compensate
Ms. Moss for defamation caused by Mr. Giuliani and his co-conspirators?

amount:’ JB, 97 8, 040, 00

INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS CLAIM

3. What amount of compensatory damages, if any, would fairly and reasonably compensate
Ms. Freeman for emotional distress caused by Mr. Giuliani and his co-conspirators?

AMOUNT: $ xO, O0D, COO.

4, What amount of compensatory damages, if any, would fairly and reasonably compensate
Ms. Moss for emotional distress inflicted by Mr. Giuliani and his co-conspirators?

AMOUNT: $ <0, 200, DO1 CO

PUNITIVE DAMAGES:

5. What amount of punitive damages, if any, should be awarded to Ms. Freeman and Ms.
Moss for Mr. Giuliani’s conduct?

AMOUNT: $ [5 200, 000.00

DATE and TIME: /2@ LS [23

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